               IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION


BRANDON SMITH,                          *
an individual,                          *
                                        *
       PLAINTIFF,                       *
                                        *
v.                                      * Case No._______________
                                        *
MARY F. MCMILLEN &                      *
MARTHA F. THOMPSON,                     *
individuals,                            *
                                        *
           DEFENDANTS.


                                  COMPLAINT

       Plaintiff BRANDON SMITH (“SMITH” or “Plaintiff”) hereby sues

Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON, individually,

(hereinafter “Defendants”) pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”), and its implementing regulations, the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendants’, MARY F. MCMILLEN & MARTHA F.
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THOMPSON’s, failure to remove physical barriers to access and violations of Title

III of the ADA.

       2.    Venue is properly located in the MIDDLE DISTRICT OF

TENNESSEE IN THE NASHVILLE DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred. The Defendants’ property is located in and does business within this

judicial district and all events giving rise to this lawsuit occurred in this judicial

district.

       3.    Plaintiff, BRANDON SMITH, is and has been at all times relevant to

the instant matter, a natural person residing in Tennessee and is sui juris. Plaintiff

lives in Memphis, Tennessee.

       4.    Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

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Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      5.     Defendant, MARY F. MCMILLEN, is an individual conducting

business in the State of Tennessee and within this judicial district.

      6.     Defendant, MARTHA F. THOMPSON, is an individual conducting

business in the State of Tennessee and within this judicial district.

                           FACTUAL ALLEGATIONS

      7.     On or about July of 2022, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron to the MAFIAoZA’s

Restaurant located at 2400 12th Ave S, Nashville, TN 37204 (“Subject Facility”,

“Subject Property”).

      8.     MARY F. MCMILLEN & MARTHA F. THOMPSON is the owner,

lessor, and/or operator/lessee of the real property and improvements that are the

subject of this action, specifically the MAFIAoZA’s Restaurant and their attendant

facilities, including vehicular parking and common exterior paths of travel within

the site identified by the Davidson County Assessor parcel identification number

105 13 0 212.00 (“Subject Facility”, “Subject Property”).

      9.     Plaintiff is an individual with disabilities as defined by the ADA.

      10.    Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

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      11.    Plaintiff uses a wheelchair for mobility purposes.

      12.    Plaintiff is presently required to travel approximately 200 miles from

Memphis to Nashville, Tennessee, 2-3 times a month to visit his medical doctors.

      13.    Plaintiff’s trips from Memphis to Nashville for medical treatment

began approximately four years ago and are necessary for the treatment of gunshot

injuries he sustained in 2004.

      14.    Plaintiff has had over 60 surgeries due to the gunshot injuries. His

permanent injuries include severe injuries to his spinal cord, as well as an above the

knee amputation of the left leg and significant gastrointestinal/urological injuries.

      15.     Plaintiff was hospitalized at Massachusetts General Hospital in

Boston, and his physicians there referred him to medical specialists Vanderbilt

University Hospital in Nashville.

      16.    The medical treatment Plaintiff receives in Nashville is highly

specialized and is not available in Memphis where he lives.

      17.    The closest place to Memphis for Plaintiff to receive this specialized

treatment is in Nashville.

      18.    Plaintiff has traveled from Memphis to Nashville for this specialized

medical treatment over 100 times in the past four years.

      19.    Plaintiff has definite plans to return to Nashville for this medical

treatment several times a month for years in the future.

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      20.    The subject property is in close proximity of the clinic that Plaintiff

frequents several times per month.

      21.    For the reasons stated in paragraphs 6-19, Plaintiff has standing to

bring this action. See Mosley v. Kohls Department Stores, Inc., 942 F.3d 752 (6th

Circuit, 2019). Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of him

disabilities, and he will be denied and/or limited in the future unless and until

Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON, are compelled

to remove the physical barriers to access and correct the ADA violations that exist

at the Subject Property, including those set forth in this Complaint.

      22.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON, are compelled

to remove the physical barriers to access and correct the ADA violations that exist

at the Subject Property, including those set forth in this Complaint.

      23.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

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disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      24.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendants’ non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      25.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendants for ADA Violations)



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     26.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

     27.    The Subject Property is a public accommodation and service

establishment.

     28.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     29.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     30.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     31.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

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advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     32.     Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     33.     Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON,

have discriminated against Plaintiff (and others with disabilities) by denying his

access to, and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of the Subject Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

     34.     Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON,

will continue to discriminate against Plaintiff and others with disabilities unless and

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until MARY F. MCMILLEN & MARTHA F. THOMPSON are compelled to

remove all physical barriers that exist at the Subject Property, including those

specifically set forth herein, and make the Subject Property accessible to and usable

by Plaintiff and other persons with disabilities.

     35.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)


            a. There is no van accessible parking present in violation
               of Section 4.6 of the 1991 ADAAG and Section 502 of
               the 2010 ADAAG. This violation made it dangerous
               for Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff undue upset and loss of
               opportunity.

            b. The access aisle adjacent to the designated accessible
               space has a curb ramp projecting into it and/or has
               surfaces which are otherwise not level in all directions
               in violation of 28 CFR § 36.211, Section 4.6.3 of the
               1991 ADAAG and Section 502.4 of the 2010 ADAAG.
               These violations made it dangerous for Plaintiff to
               utilize the parking facility at the Subject Property and
               caused Plaintiff loss of opportunity.


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        c. The paint delineating the designated accessible parking
           space and access aisle is not being maintained so that it
           clearly marks the accessible parking location in
           violation of 28 CFR § 36.211, Section 4.6 of the 1991
           ADAAG, and Section 502.3.3 of the 2010 ADAAG.
           These violations made it dangerous for Plaintiff to
           utilize the parking facility at the Subject Property and
           caused Plaintiff loss of opportunity.

        d. There is no van-accessible parking identified as such
           with upright “Van Accessible” signage in violation of
           Section 4.6 of the 1991 ADAAG and Sections 208, 302
           and 502 of the 2010 ADAAG. These violations made
           it dangerous for Plaintiff to utilize the parking facility
           at the Subject Property and caused Plaintiff loss of
           opportunity.

        e. The is no visible upright signage (displaying the
           International Symbol of Accessibility) designating
           parking spaces as accessible in violation of Section 4.6
           of the 1991 ADAAG and Section 502 of the 2010
           ADAAG. These violations made it dangerous for
           Plaintiff to utilize the parking facility at the Subject
           Property and caused Plaintiff loss of opportunity.

        f. The access aisle adjacent to the designated accessible
           space has a curb ramp projecting into it and/or has
           surfaces which are otherwise not level in all directions
           in violation of 28 CFR § 36.211, Section 4.6.3 of the
           1991 ADAAG and Section 502.4 of the 2010 ADAAG.
           These violations made it dangerous for Plaintiff to
           utilize the parking facility at the Subject Property and
           caused Plaintiff loss of opportunity.

        g. The accessible entrance does not provide the minimum
           requisite level maneuvering clearance for a forward
           approach to the pull side of the designated accessible
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           entry door in violation of Section 4.13.6 of the 1991
           ADAAG and Section 404.2.4 of the 2010 ADAAG.
           These violations made it dangerous for Plaintiff to
           utilize the parking facility at the Subject Property and
           caused Plaintiff loss of opportunity.

        h. The accessible route along the storefront curb on the
           Subject Facility was obstructed by vehicles parked in
           spaces abutting the accessible route because no parking
           stops are provided at said parking spaces. This allows
           parked vehicle overhangs to reduce the width of the
           path of travel to less than 36 inches wide for more than
           24 linear inches in violation of Section 4.3 of the 1991
           ADAAG and Section 403.5.1 of the 2010 ADAAG.
           These violations made it dangerous for Plaintiff to
           utilize the parking facility at the Subject Property and
           caused       Plaintiff      loss     of     opportunity.

                       MAINTENANCE PRACTICES

        i. Defendants have a practice of failing to maintain the
           accessible features of the facility, creating barriers to
           access for the Plaintiff, as set forth herein, in violation
           of 28 CFR § 36.211. This practice prevented access to
           the Plaintiff equal to that of Defendants’ able-bodied
           customers causing Plaintiff loss of opportunity.

        j. Defendants have a practice of failing to maintain the
           accessible elements at the Subject Facility by
           neglecting its continuing duty to review, inspect, and
           discover transient accessible elements which by the
           nature of their design or placement, frequency of usage,
           exposure to weather and/or other factors, are prone to
           shift from compliant to noncompliant so that said
           elements may be discovered and remediated.
           Defendants failed and continue to fail to alter their
           inadequate maintenance practices to prevent future
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                recurrence of noncompliance with dynamic accessible
                elements at the Subject Facility in violation of 28 CFR
                § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
                These violations, as set forth hereinabove, made it
                impossible for Plaintiff to experience the same access
                to the goods, services, facilities, privileges, advantages
                and accommodations of the Subject Facility as
                Defendants’ able-bodied patrons and caused Plaintiff
                loss of opportunity.

             k. Defendants have failed to modify their discriminatory
                maintenance practices to ensure that, pursuant to its
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendants prevented access to the Plaintiff equal
                to that of Defendants’ able-bodied customers causing
                Plaintiff loss of opportunity.

      36.    The discriminatory violations described above are not an exhaustive list

of the Defendants’ current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that


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the Defendants do not intend to comply with the ADA.

      37.    The Defendants have a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendants failed and continue to fail to alter their inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendants’

able-bodied patrons.

      38.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      39.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

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      40.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      41.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      42.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      43.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendants.

      44.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendants have the financial resources to make the

modifications, including the financial assistance made available to Defendants by

the government pursuant to Section 44 and/or Section 190 of the IRS Code.

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      45.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendants contribute to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      46.    Defendants are required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendants are required to ensure to

the maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendants’ facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendants’ facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendants have

failed to comply with this mandate.

      47.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants, MARY F. MCMILLEN & MARTHA F. THOMPSON,

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are required to remove the physical barriers, dangerous conditions and ADA

violations that exist at the Subject Property, including those alleged herein.

Considering the balance of hardships between the Plaintiff and Defendants, a remedy

in equity is warranted.

      48.     Plaintiff’s requested relief serves the public interest.

      49.     Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendants, MARY F. MCMILLEN & MARTHA F.

THOMPSON, pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff

will be denied full and equal access to the subject premises, as provided by the ADA

unless the injunctive relief requested herein is granted.

      50.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendants to fulfill their continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.      That the Court find Defendants, MARY F. MCMILLEN
              & MARTHA F. THOMPSON, in violation of the ADA
              and ADAAG;

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  B.    That the Court enter an Order requiring Defendants,
        MARY F. MCMILLEN & MARTHA F. THOMPSON, to
        (i) remove the physical barriers to access and (ii) alter the
        Subject Property to make the Subject Property readily
        accessible to and useable by individuals with disabilities
        to the full extent required by Title III of the ADA;

  C.    That the Court enter an Order directing Defendants,
        pursuant to 28 C.F.R. §36.211, to fulfill their continuing
        duty to maintain the accessible features and equipment so
        that the facility remains accessible to and useable by
        individuals with disabilities to the full extent required by
        Title III of the ADA;

  D.    That the Court enter an Order directing Defendants to
        implement and carry out effective policies, practices, and
        procedures to maintain the accessible features and
        equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
        §36.211.

  E.    That the Court enter an Order directing Defendants to
        evaluate and neutralize their policies and procedures
        towards persons with disabilities for such reasonable time
        so as to allow them to undertake and complete corrective
        procedures;

  F.    An award of attorneys’ fees, costs (including expert fees),
        and litigation expenses pursuant to 42 U.S.C. § 12205 and
        an award of monitoring fees associated with insuring that
        the Defendants are in compliance with the ADA.

  G.    An award of interest upon the original sums of said award
        of attorney’s fees, costs (including expert fees), and other
        expenses of suit; and

  H.    Such other relief as the Court deems just and proper,
        and/or is allowable under Title III of the Americans with
        Disabilities Act.


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Dated this the 23rd day of January, 2023.

                                            RESPECTFULLY SUBMITTED,

                                            /s/ Davis A. Stephenson
                                            Davis A. Stephenson
                                            (TN BPR #39015)
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DEFENDANTS TO BE SERVED:
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